           Case 1:20-cr-00330-AJN Document 454 Filed 11/12/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                   11/12/21
  United States of America,

                 –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       As discussed at Wednesday’s conference, the Court will hold an in-person proceeding on

November 15, 2021 at 9:30 a.m. The proceeding will take place in Courtroom 518 of the

United States District Court for the Southern District of New York, Thurgood Marshall U.S.

Courthouse at 40 Foley Square, New York, New York. In accordance with its prior Order, the

Court will ensure access for alleged victims and any members of the Defendant’s family. Dkt.

No. 344.

       In order to comply with the District’s COVID-19 protocols, the public will be able to

access the proceeding in overflow Courtrooms 110 and 506 of the Thurgood Marshall U.S.

Courthouse. These overflow rooms will have live video and audio feeds of the proceeding. The

use of any electronic devices during the proceeding in the overflow rooms is strictly

prohibited.

       The Court anticipates seating capacity in the overflow rooms for at least 50 members of

the public. If capacity is reached, no additional persons will be admitted. Per the S.D.N.Y.

Response to COVID-19, anyone who appears at any S.D.N.Y. courthouse must complete a

questionnaire on the date of the proceeding prior to entering the courthouse. All visitors must

also have their temperature taken when they arrive at the courthouse. Only persons who meet the

                                                    1
         Case 1:20-cr-00330-AJN Document 454 Filed 11/12/21 Page 2 of 2




entry requirements established by the questionnaire and whose temperatures are below 100.4

degrees will be allowed to enter the courthouse. All visitors must wear a mask that covers the

person’s nose and mouth. Bandannas, gaiters, and masks with valves are not permitted. If a

person does not have an approved mask, a screener will provide one. Anyone who fails to

comply with the COVID-19 protocols that have been adopted by the Court will be required to

leave the courthouse. There are no exceptions. For more information, please see

https://www.nysd.uscourts.gov/covid-19-coronavirus.

       SO ORDERED.



 Dated: November 12, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




                                                    2
